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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FL()RIDA

JACKSONVILLE DIVISION
H\l RE: CASE NO.: 3:l7-bk-2961-JAF
GANESH ARORA
SHIWANI ARORA Chapter l l
Debtor(s).
/

 

NOTICE OF FILING AMENDED SUMMARY OF SCHEDULES AND
AMENDED SCHEDULE A/B AND AMENDED SCHEDULE E/F

The Debtors gives notice that they are amending the Summary of Schedules to reflect
changes to Schedule A/B and Schedule E/F.
Schedule A/B is amended as follows:
v Original Schedule provided: Schedule A/B #6: l~lousehold goods and furnishings
Value » $4,000
¢ Amended Schedule provides: Schedule A/B #6: Household goods and furnishings
Value - $4,000
o l\/Iaster Bedroom: King bed, dresser, 2 side tables, computer desk, chair, TV
shelf
0 Family Room: Sofa, coffee table, TV, breakfast table set, sound system
o Living Room: Sofa, love seat, chair, dining set With 6 chairs, Chinet, coffee
table
o Bedroom l: Queen bed, side table, dresser
0 Bedroom 2: Queen bed, side table, computer desk, shelvng
o Bedroom 3: Queen bed, side table, computer desk, shelving

o Kitchen: Refrigerator, dishwasher, oven, and microwave

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o Laundry Room: Washer and dryer
Schedule E/F is amended as follows:
» Add general unsecured creditor
o David Catalano, 7879 SE thh Circle, Ocala, FL 34480.
' Amount of claim: unknown
l Contingent, unliquidated, disputed
» Add priority unsecured creditor
o lnternal Revenue Service, PO Box 7346, Philadelphia, PA l9l()l-7346.
' Amount of claim: unknown

' Contingent, unliquidated, disputed

Respectfully submitted this § g day of October, 2017.

,Law Oft`ices of Mickler & Mickler

By: /S?z;l'/;:;J. &
TAYLOR J. KING

Attorney for Debtor

5452 Arlington Expressway
Jacksonville, FL 32211

(904) 725~0822\FAX 725-0855
Florida Bar No. 72049

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy hereof, together with a copy of the attached
Declaration Conceming Debtor’S Amended Summary of Schedules and Amended Schedule A/B
and Amended Schedule E/F and Section 341 Notice of Commencement were furnished tc the
U.S. Trustee’s Oft`ice, by CM/ECF electronic tiling, and to David Catalano, 7879 SE 12th Circle,
Ocala, FL 34480, and to lnternal Revenue Service, PG Box 7346, Philadelphia, PA 19101-7346,
by U.S. Mail, postage pre-paid, this Lday of October, 2017.

Law Oft`ices of Mickler & Mickler

By: /s/¢%o:' 9 121§/

TAYLOR J. KlNG

Attorney for Debtor

5452 Arlington Expressway
lacksonville, FL 3221],

(904) 725-0822\FAX 725~0855
Florida Bar No. 72049

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,§iii;in misinformationromemrfyyourcase "

Debtor1 Ganesh D. Arora

 

First Name Middle Name Last Name
Debtor 2 Shiwani K. Arora

 

(Spouse it, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: MlDDLE DlSTRlCT OF Fl_ORlDA

 

Case number 3:17-bk-02961

tit known)

 

 

 

Ofiicial Form 106Sum

 

Summary of Your Assets and Liabilities and Certain Statistical information

l Check iithis is an
amended filing

12/15

Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. lt you are filing amended schedules after you tile

your original forms, you must fill out a new Summary and check the box at the top of this page.

 

,; Summarize Your Assets

1. Schedule A/B: Property (Otiicial Form 106A/B)

Your assets : _~ _ l g
Value of what you own l

 

 

 

 

 

1a. Copy line 55, Total real estate, from Schedule A/B ................................................................................................ 3 11873’900~00
1b. Copy line 62, Total personal property, from Schedule A/B ..................................................................................... $ 40,028.86
1c. Copy line 63, Total of all property on Schedule A/B ............................................................................................... $ 1,91 3,928_86
Summarize Your Liabilities
Yeiirfiiébiiitiea -
;Amouhty¢u"owe‘* ~~
2. Schedule D: Creditors Who Have C/aims Secured by Property (thcial Form 106D)
2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedu/e D,.. 3 4=680>183'00
3. Schedule E/F.' Creditors Who Have Unsecured Claims (Otticial Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6a ci Schedule E/F ................................. $ 0'00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ............................ $ 27,607.00
Your total liabilities $ 4,707,790.00
Summarize Your income and Expenses
44 Schedu/e I: Your lncome (Oiticial Form 106l)
Copy your combined monthly income from line 12 of Schedule l ................................................................................ 3 1 1 »718'32
5. Schedule J.' Your Ex enses thcial Forrn 106J
p ( ) $ 1 0,077.00

Copy your monthly expenses from line 220 of Schedu/e J ...................................................................

Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or13?

ij No. You have nothing to report on this part of the form. Checl< this box and submit this form to the court with your other schedules

l Yes
7. What kind of debt do you have?

[] Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal, iamily, or

household purpose.” 11 U.S.C. § 101(8). Fill outlines 8‘99 for statistical purposes 28 U.S.C. § 159.

g Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to

Ofiicial Form 1068um Summary of Your Assets and Liabilities and Certain Statistical information

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page 1 of 2

Best Case Bankruptcy

 

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Debtor1 Ganesh D. Arora
Debtorg Shiwani K_ Arora Case number (ifknown) 3!17'bk'02961

the court with your other schedules

 

 

8. From the Statement of Your Current Monthly lncome: Copy your total current monthly income from Ofncia| Form
122A»1 Line 11; OR, Form 1228 Line 11; OR, Form 1220-1 Line 14. 5

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

r, l l l ,`T¢tal~¢laim” `
;Frt>m~~,Pan lion Scheddle~'E/F; copy the fellowino:r ~* "
9a. Domestic support obligations (Copy line 6a.) $ 0.00
Qb. Taxes and certain other debts you owe the government (Copy line 6b.) $ 0.00
9c. Claims for death or personal injury while you were intoxicated (Copy line 6c.) $ 0.00
Qd, Student loans. (Copy line 6f,) $ 0.00
Qe. Obligations arising out ot a separation agreement or divorce that you did not report as

priority claims. (Copy line 6g.) 3 0'00
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6b.) +$ 0.00
99. Total. Add lines 9a through 9t. $ 0.00

Ofticial Form 1068um Summary of Vour Assets and Liabilities and Certain Statistical information page 2 ot 2

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'Eii» ` ‘§i`ihr¢,iwé'fi¢dfwdetainer

Debtori Ganesh D. Arora

First Name

Debtor 2 Shiwani K. Arora

Middle Name

gah`qzn:s,rriw§i `, "

Last Name

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(Spouse, ii ming) First Name

United States Banl<ruptcy Court for the:

Middle Name

test Name

M|DDLE DlSTRlCT OF FLOR|DA

 

Case number 3:17~bk-02961

 

l Checl< ii this is an
amended ming

 

Official Form 106A/B
Schedule A/B: Property

 

12/15

in each category, separately list and describe items. List an asset only once. lf an asset t“rts in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. lf two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number tit known).

Answer every question.

 

Describe Each Residence, Building, Land, or Other Real Estate Vou Own or Have an Interest ln

14 Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

l:l No. co to Pan 2.
- Yes. Where is the property’?

1.1
1716 SW 82nd Drive

Street address, it available, or other description

 

 

 

Gainesville FL 32607~0000
City State ZlP Code
A|achua

County

What is the property? Checl< all that apply
l Singie-tamily home
Duplex or multi-unit building

Condominium or cooperative

[Il

l:l

ij Manufactured or mobile home
m Land
l:l investment property
El
Cl

Timeshare
Other

Who has an interest in the property? Check one

l`.`] newton only
m Debtor 2 only
l Debtor1 and Debtor2 only

m At least one of the debtors and another

Do not deduct secured claims orexemptions, Put
the amount ot any secured claims on Schedule D:
Creditors Who Have Claims Secureo' by Property.

Current value of the
portion you own?

5343,900.00

Current value of the
entire property?

$343,900.00

 

Describe the nature of your ownership interest
(such as fee simple, tenancy by the entireties, or
a life estate), if known.

Fee Simple

 

m Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

Tax value - $343,900

 

Otncial Form 106A/B
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Schedule A/B: Property

page 1

Best Case Bankruptcy

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Ganesh D. Arora
Shiwani K. Arora

Debtor 1
Debtor 2

Case number (if known)

if you own or have more than one, list here:

 

 

 

3:17-bk-02961

 

 

 

1.2 What is the property? Checl< all that apply
11950 CR 101 [:] Singie-fami|y home Do not deduct secured claims or exemptions Put
Street address if available or other description ._ . . . the amount of any secured claims on Schedule D.'
m Duplex or mum mm bu"dmg Creditors Who Have Claims Secured by Property,
m Condominium or cooperative
[_'_l Manutactured or mobile home
_ Current value of the Current value of the
The villages FL 32162-0000 m Land entire property? portion you own?
City State ZlP Code ij investment property $'i ,ZO0,000.00 $1,200,000.00
T'm h
m l es are Describe the nature of your ownership interest
m Othe’ (such as fee simple, tenancy by the entireties, or
Who has an interest in the property? Check one a life estate)’ if k"°‘”“'
m Debtor 1 only
Sumter ij oeblor 2 only
Cour\ly l oele 1 d o vt 2 l
r an 6 or on y m Check if this is community property
m At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
Tax Value - $626,220
if you own or have more than one, list here:
1.3 What is the property? Cnecl< all trial apply

13905 NW 19th Place

Street address, if available, or other description

 

 

 

Gainesvilie FL 32606-0000
City State ZiP Code
Aiachua

County

Singie-family home
Dupiex or multi-unit building
Condominium or cooperative

Manuiactured or mobile home
Land
investment property

Timeshare
Other

[J[]Eii:ii`_'i [][ii:i

Who has an interest in the property? Check one

m Debtor 1 only

m Debtor 2 only

l Debtor 1 and Debtor 2 only

n At least one of the debtors and another

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Propen‘y.

Current value of the
portion you own?

$300,000.00

Current value of the
entire property?

$300,000.00

 

Describe the nature of your ownership interest
(such as fee simple, tenancy by the entireties, or
a life estate), if known.

Fee Simple

 

m Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

Tax value - $181900

 

thciai Form 106A/B
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Schedule A/B: Property

page 2
Best Case Bankruptcy

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Ganesh D. Arora
Shiwani K. Arora

Debtor 1
Debtor 2

Case number (ifknown) 3217-bk-02961

if you own or have more than one, list here:

1.4
Tesoro Plat #6, Lot 49

What is the property? Check all that apply

Sing|e-tamiiy home

 

Street address, if available or other description

Duplex or multi»unit building

Condominium or cooperative

Manulactured or mobile home

Land

 

City State ZiP Code

investment property
Timeshare

Other

W

l:l§i:i[][]i:ii:l l:ll:il:i

Debtor 1 only
m Debtor 2 only

 

County

. Debtor l and Debtor 2 only

m At least one of the debtors and another

has an interest in the property? Check one

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property,

Current value of the
portion you own?

$30,000.00

Current value of the
entire property?

$30,000.00
Describe the nature of your ownership interest

(such as fee simpie, tenancy by the entireties, or
a life estate), if known.

 

Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
pages you have attached for Part 1. Write that number here

 

Describe Your Vehicles

 

$1,873,900.00

:>

 

 

 

 

Do you own, iease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles you own that
someone else drives if you lease a vehicie, also report it on Schedule G.' Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

 

 

 

 

 

 

 

 

i:] No
§ Yes
. Lexus . . Do not deduct secured claims or exemptions Put
3.1 Make. Who has an interest ln the property? Checl< one the amount of any Secmed claims on Schedule D'_
Niodei: RX33O m Debtor 1 only Crediiors Who Have C/aims Secured by Propelty.
Year; 20 4
0 m Debfm 2 amy Current value of the Current value of the
Approximate mileage: 470,000 § Deblo¢ 1 and Debior 2 only entire property? portion you own?
other informationl l:] At least one of the debtors and another
m Check if this is community property $5’000'00 $5»000'00
(see instructions)
. Lexus . . Do nol deduct secured claims or exemptions Put
3.2 i\iiake. Who has an interest ln the property? Check one the amount of any secured claims on Schedule D:
Model: ES350 m Debtor 1 only Creditors Who Have Claims Secwed by Property,
Year: 0
2 12 m Debmr 2 On‘y Current value of the Current value of the
Approximate mileage'. 90,000 l Deblor 1 and Deblor 2 only entire property? portion you own?
ethel informali°"f m At least one of the debtors and another
m Check if this is community property $1 0»000'00 $1 0,000-00
(see instructions)
Ofticiai Form 106A/B Schedule A/B: Property page 3
Best Case Banl<ruptcy

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Debtor 1 Ganesh D. Arora
Deblor 2 Shiwani K_ Arora Case number (ifknown) 3117“bk’02961

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercrafl, fishing vessels, snowmobiles, motorcycle accessories

l No
[] Yes

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for

pages you have attached for Part 2. Write that number here => $15’000'00

 

 

 

 

Part3 Describe Your Personal and Household ltems

Do you own or have any legal or equitable interest in any of the following items? Current value of the
portion you own?
Do not deduct secured
claims or exemptions

 

 

6. Household goods and furnishings
Examples: Major appliancesy furniture, linens, china, kitchenware

l:l No
m Yes. Describe .....

 

Nlaster Bedroom: King bed, dresser, 2 side tables, computer desk,
chair, tv shelf

Living Room: Sofa, love seat, chair, dining set with 6 chairs,
Chinet, coffee table

Family Room: Sofa, coffee table, TV, breakfast table set, sound
system

Bedroom 1: Queen bed, side table, dresser

Bedroom 2: Queen bed, side table, computer desk, shelving
Bedroom 3: Queen bed, side table, computer desk, shelving
Kitchen: Refrigerator, dishwasher, oven & microwave

Laundry Room: Washer & Dryer $4,090-00

 

 

 

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games
l:l No

l Yes. Describe .....

 

l2 Tvs l $115.00

 

 

8. Collectibles of value
Examples: Antiques and tigurines; paintings, prints, or other artworl<; books, pictures, or other art objects; stamp, coin, or baseball card collections;
other collections, memorabilia, collectibles

l No
l:l Yes. Describe .....

9. Equipment for sports and hobbies
Examples: Sporis, photographic exercise and other hobby equipment bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
musical instruments

5 No
[] Yes4 Describe .....

10. Firearms
Examples: Pistols, rifles, shotguns, ammunition and related equipment

n No
l`_'l Yes. Describe .....

11. Clothes
Examp/es.' Everyday clothes, furs, leather coals, designer wear, shoes, accessories
l:l No
l Yes. Describe .....
Ofncial Form 106A/B Schedule A/B: Property page 4

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Debtor 1 Ganesh D. Arora

 

 

 

 

Debior 2 Shiwani K. Arora Case number (if/<nown) 3:17~bk-02961
l clothing l $350.00
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
m No

n Yes. Describe .....

 

l Mens watch l $10.00

 

lJewelry - $750; wedding ring - srso l $1,500.00

13. Non-farm animals
Examp/es.' Dogs, cals, birds, horses

§ No
l:] Yes. Describe .....

14. Any other personal and household items you did not already list, including any health aids you did not list
l:l No

n Yes. Give specinc information .....

 

l Piano l $1,250.00

 

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
for Part 3. Write that number here $7,225-09

 

 

 

  

. b Describe Your Financial Assets

Do ou own or have any legal or equitable interest in any of the following? Current value of the

portion you own?
Do not deduct secured
claims or exemptions

16. Cash
Examples: l\/loney you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

§ No
L__l Yes ................................................................................................................

17. Deposits of money

Examples: Checking, savings, or other financial accounts; certilicates of deposit; shares in credit unions, brokerage houses, and other similar
institutions ll you have multiple accounts with the same institution, list each

 

 

 

 

 

 

l:l No
n Yes ........................ institution name
17.1. Savings Regions Bank #8086 $5.00
17.2. Checking Regions Bank $38.00
17.3. checking Regions checking $7,760.86
Official Form 106A/B Schedule A/B: Property page 5

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Debtor1 Ganesh D. Arora
D€bef 2 Shiwani K. Arora Case number (ifknown) 3517'bk~02961

 

18. Bonds, mutual funds, or publicly traded stocks
Examples.' Bond funds, investment accounts with brokerage flrms, money market accounts

lNo

[] Yes __________________ lnstitution or issuer name:

19. Non~publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ij No

l Yes. Give speciic information about them ...................
Name of entity: % of ownership:
G & S of Marion County, L.L.C. 100 % Unknown
A & A of llllarion County, L.L.C. 100 % Unknown
Clinial Pet of Ocala, LLC 10 % Unknown
Ocala Klub of Karaoke, LLC (no assets, no
income) 33 % $0.00
Clinical Pet of Citrus, LLC (inactive) 100 % $0.00
Clinical PET of Zephyrhills, LLC (inactive) 100 % $0.00
Primary Care Specialists of North Florida, LLC
(inactive) 100 % $0.00
Radiological lnstitute of the Villages, LLC (dba
for clinical Pet of ocala, LLC) 100 % $0-00
G & S Radiological Services, LLC (inactive) 100 % $0.00
Clinical Pet of Lake City, |nc. (inactive) 100 % $0.00
Delicious Sandwiches, lnc. (inactive) 100 % $0.00
Pet Metabolic lmagi_ng, LLC (inactive) 100 % $0.00
Neurological and Cardiovascu|ar imaging
Center, LLC (payro|l company for Clinical Pet of
Ocala, LLC) % Unknown
Racliological institute of Ocala, lnc. (inactive) 100 % $0.00
Pet Cardiovascular lmagj_n_g, LLC (inactive) 100 % $0.00
G & S Billing Company, LLC (inactive) 100 % $0.00

Otl”lcial Form 106A/B Schedule Ale Property page 6

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Debtor 1 Ganesh D. Arora

 

 

 

 

 

DebiOr 2 Shiwani K. Arora Case number (ifknown) 3!17~bk-02961
Tri-County Surgica| Specialists, LLC (inactive) 100 % $0.00
Clinical Pet of Hernando, inc. (inactive) 100 % $0.00
PET Cardiovascular lmaging, LLC (inactive) 100 % $0.00

 

 

20. Government and corporate bonds and other negotiable and non~negotiable instruments
Negotiab/e instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiab/e instruments are those you cannot transfer to someone by signing or delivering them.

lNo

l:l Yes. Give specinc information about them
issuer name:

21. Retirement or pension accounts
Examples: interests in lRA, ERlSA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or pront~sharing plans

i:iNo

l Yes. List each account separately
Type of account institution name:

401 (k) Fidelity 401 (k) $1 0,000.00

 

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rentl public utilities (electric, gas, waier), telecommunications companies, or others

l No
l:i Yes. ..................... institution name or individual:

23. Annuities (A contract for a periodic payment of money to you. either for life or for a number of years)
l No
[i Yes ,,,,,,,,,,,,, issuer name and description

24. interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)('l).

i No
[] Yes _____________ institution name and description Separateiy tile the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
l No
[] Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: lnternet domain names, websites, proceeds from royalties and licensing agreements

l No
ij Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

l No
L_.i Yes. Give specific information about them...
Money or property owed to you? Current value of the
portion you own?

Do not deduct secured
claims or exemptions

Official Form 106A/B Schedule A/B: Property page 7
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Debtori Ganesh D.Arora
DebiGrZ ShiwaniK.Arora Case number(irknown) 3217-bk-02961

 

28. Tax refunds owed to you
l No
i:i ¥es. Give specific information about them, including whether you already filed the returns and the tax years .......

29. Family support
Examples.' Past due or lump sum aiimony, spousal support, child support, maintenance divorce settiement, property settlement

l No
m Yes. Give specihc information ......

30. Other amounts someone owes you
Examp/es.' Unpaid Wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation Sociai Security
benefits; unpaid loans you made to someone else

l No
i:i ¥es. Give specific information..

31. interests in insurance policies
Examples: Heaith, disability, or life insurance; health savings account (HSA); credit, homeownersx or renter’s insurance

.No

i:] Yes. Name the insurance company of each policy and list its value.
Company name: Benehciary: Surrender or refund
vaiue:

32. Any interest in property that is due you from someone who has died
if you are the benehciary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

l No
i:i Yes. Give specific information..

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes insurance claims. or rights to sue

ij No
l Yes. Describe each claim .........

 

Claim against Davicl Catalano to avoid transfer of stock
ownership in 200 Club of Ocala, LLC Unknown

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
. No
[`_'] Yes. Describe each claim .........

35. Any financial assets you did not already list
l No
i:i Yes. Give specific information.,

 

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached

 

 

 

 

 

 

for Part 4. Write that number here $17’803'86
'Pa'rt:£")é`i; Describe Any Business-Relatecl Property You Own or i~iave an interest ln. List any real estate in Part 1.
37. Do you own or have any legal or equitable interest in any business-related property?
l No, Go to Part 6,
i:i Yes Go to line 38.
Ott"iciai Form iOSA/B Schedule A/B: Property page 8

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Debtori Ganesh D.Arora
DethrZ ShiwaniK.Arora Case number(irknown) 3217-bk~02961

 

  

Part 6§ Describe Any Farm¢ and Commercial Fishing- -Reiated Property You Own or Have an interest in
» j lfyou own or have an interest` in farmland, list ii' in Part 1.

 

46. Do you own or have any legal or equitable interest in any fann- or commercial fishing-related property?
n No. Go to Part 7,
ij Yes, Go to line 47.

'» Describe Ali Property ‘(ou 0wn or Have an interest in That You Did Not List Above

 

 

53. Do you have other property of any kind you did not already iist?
EXamp/es: Season tickets, country club membership

lNo

i:l Yes. Give specific information .........

 

54. Add the dollar value of ali of your entries from Part 7. Write that number here .................................... $0.00

 

 

 

List the Totals of Each Part of this Form

 

 

 

 

 

 

55. Part 1: Totai real estate, line 2 $1,873,900.00

56. Part 2: Totai vehicles, line 5 $15,000.00

57. Part 3: Totai personal and household items, line 15 __ $7,225.00

58. Part 4: Totai financial assets, line 36 $1 7,803.86

59. Part 5: Totai business~reiated property, line 45 $0.00

60. Part 6: Totai farm- and fishing-related property, line 52 $0.00

61. Part 7: Totai other property not iisted, line 54 + $0.00

62. Totai personal property. Add lines 56 through 61... 540,028.86 Coin P€FSOnai plop€ny mai $40,028.86

63. Totai of all property on Schedule AIB. Add line 55 + line 62 $1,913,928.86
Official Form lOBA/B Schedule A/B: Property page 9

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'lfiderififyii<>bica§é='

Debtori Ganesh D. Arora
First Name Middle Name Lasl Name

Debtor 2 Shiwani K. Arora

(Spouse it, filing) First Name Middle Name Last Name

Uniied States Bankruptcy Court for the: |VllDDLE DlSTRlCT OF FLORlDA

 

Case number 3:17-bk-0296‘l
(irknown) l Checl< if this is an
amended tiling

 

 

 

Official Form 106E/F
Schedule ElF: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRlORlT¥ claims and Part 2 for creditors with NONFRlORlT¥ claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule Ale Property (Official Form 105AIB) and on
Schedule G: Executory Contracts and Unexpired Leases (Gtticial Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who l-lave Claims Secured by Property, lf more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation page to this page. lt you have no information to report in a Part, do not tile that Part. Gn the top of any additional pages, write your
name and case number (if known).

List All of Your PRlORlTY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?

 

l No. Go to Part 2.

 

List All of Your NONPR|ORlTY Unsecured Claims
3. Do any creditors have nonpriority unsecured claims against you?

m No. You have nothing to report in this part. Submit this form to the court with your other schedules

m Yes.

4. List ali of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. lf a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, identity what type of claim it is. Do not list claims already included in Part 1 . lf more
than one creditor holds a particular claim, list the other creditors in Part 3,lf you have more than three nonprioriiy unsecured claims fill out the Conlinuation Page of
Part 2.

 

 

 

 

 

Totai claim

4.1 Amex Last 4 digits of account number 7423 $0.00

Nonpriority Creditor's Name

Correspondence Opened 09/01 Last Active

PO BCX 981540 When was the debt incurred? 411 3]14

El Paso, TX 79998

Number Street City Staie le Code As of the date you tile, the claim is: Check all that apply

Who incurred the debt? Check one.

l Debtor 1 only m Contingent

m Debtor 2 only m Unliquidated

m Debtor 1 and Debtor 2 only m Disputed

m At least one of the debtors and another Type °f NONFR|OR'TY unsecured claim

m Check if this claim is for a community m Swdent I°ans

debt m Obligations arising out of a separation agreement or divorce that you did not

ls the claim subject to offset? report as priority claims

l No m Deth to pension or profit‘sharing plans, and other similar debts

m Yes o Other, Specgfy Cl’edlt Cal'd
Otticial Form 106 E/F Schedule ElF: Creditors Who Have Unsecured Claims Page 1 of 18
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Debtor1 Ganesh D. Arora
Debt0r2 ShiwaniK.Arora

Case number (rrr<n<m) 3:17-bk-02961

 

 

 

4.2 Amex
Nonpriority Creditor's Name
Correspondence

Po Box 981540
El Paso, TX 79998

 

Number Street City State le Code

Who incurred the debt? Check one.

l Debtor 1 only

m Debtor 2 only

m Debtor 1 and Debtor 2 only

L__] At least one of the debtors and another

m Check if this claim is for a community
debt
ls the ciaim subject to offset?

Last 4 digits of account number

7343 $0.00

Opened 12/01 Last Active
07114

When was the debt incurred?

 

As of the date you file, the claim is: Checl< all that apply

m Contingent
l] unliquidated

m Disputed
Type of NONPR|ORlTY unsecured claim:

m Student loans

m Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

 

 

 

 

 

 

 

 

 

 

 

 

l No m Deth to pension or prot“rt-sharing plans, and other similar debts
m Yes n Other. Specify Credit Card
4.3 Amex Last 4 digits of account number 1863 $0.00
Nonpriority Creditor's Name
Correspondence Opened 01114 Last Active
PO BOX 981540 When was the debt incurred? 4/22[14
El Paso, TX 79998
Number Street City State le Code As of the date you tile, the claim is: Check all that apply
Who incurred the debt? Check one.
l Debtor 1 only ij Contingent
m Debtor 2 only m Unliquidated
L__i Debtor 1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type of NONPR'OR|TY unsecured °‘aim:
m Check if this claim is for a community g Studem mens
debt ij Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
§ No m Debts to pension or profit-sharing plans, and other similar debts
m Yes n Oiher_ Specjfy Credit Ca|'d
4.4 Amex Last 4 digits of account number 91 26 $0.00
Nonpriority Creditor's Name
Opened 11/99 Last Active
9111 Duke Blvd When was the debt incurred? 3/18/16
lVlason, OH 45040
Number Street City State le Code As of the date you tile, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor 1 only [] Commgem
l penth 2 only l.`J unliquidated
m Debtor 1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type °f NONPR'OR'TY unsecured °'aim:
l:l check ifrhis cream is for a community m S’udem ‘°a“$
debt m Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
n NQ m Deth to pension or profit~sharing plans, and other similar debts
m Yes l Oihe,-_ Spec;fy Ci’edif Cai'd
Official Form 106 ElF Schedule EIF: Creditors Who Have Unsecured Claims Page 2 of 18
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Debtorl Ganesh D.Arora
DebtorZ ShiwaniK.Arora

{4:1 Amex

Nonpriority Creditor's Name
Correspondence

Po Box 981540

El Paso, TX 79998

 

Number Street City State le Code
Who incurred the debt? Check one.

l:l Debior l only

m Debtor 2 only

g Debtor 1 and Debtor 2 only

m At least one of the debtors and another

[:] Check if this claim is for a community
debt
ls the claim subject to offset?

Case number (irl<nnw) 3117-bk~02961

 

Last 4 digits of account number

5184 $0.00

Opened 05/95 Last Active
02/17

When was the debt incurred?

As of the date you tile, the claim is: Check all that apply

m Contingent
El unliquidated

m Disputed
Type of NONPR|ORlTY unsecured claim:

m Student loans

m Obllgations arising out of a separation agreement or divorce that you did not
report as priority claims

 

 

 

 

 

 

 

 

 

 

 

 

g No m Deth to pension or proht_sharing plans, and other similar debts
m ¥es l Otherv Specify Ct'€dit Cai'd
446 Ar Resources lnc Last 4 digits of account number 7057 $0.00

Nonpriority Creditor's Name
Bankruptcy Opened 06/16 Last Active
Po Box 1 056 When was the debt incurred? 3/28/15
Blue Bell, PA 19422
Number Street City State le Code As of the date you tile, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor 1 only [] Comingem
g Debtor 2 only m Unliquidated
m Debtor 1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type of NONPR'OR'TY unsecured claim:
Cl check lrrhis claim is rcr a community m S*“de"* '°a“$
debt L_.i Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
§ No m Deth to pension or profit-sharing plans, and other similar debts

Collection Attorney Gainesville Emergency
m Yes n Cther, Specify Medica

4.7 Bank Of America Last4 digits of account number 1338 $0.00
Nor\priority Creditor's Name
0 erred 04/07 Last Active
Pc Box 982238 . p
When was the debt incurred? 3/17/09
El Paso, TX 79998
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
. Debtor 1 only m Contingent
m Debtor 2 only m Unliquidated
m Debtor 1 and Debtor 2 only m Disputed
ij At least one of the debtors and another Type of NONPR|QR‘TY unsecured claim:
ij check ifchis claim is rcr a community n S“’de"‘ '°a“$
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No ij Debts to pension or prot'lt~sharing plans, and other similar debts
l:l Yes l owen Specify Check Credit Or Line Of Credit
Ofiicial Form 106 ElF Schedule Ele Creditors Who Have Unsecured Claims Page 3 of 18
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Debtor 1 Ganesh D. Arora
DethrZ Shiwani K. Arora

 

 

Case number (irr<no~) 3:17-bk~02961

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.8 Bayview Financial Loan Last 4 digits of account number 741 8 Unknown
Nonpriority Creditor's Name
Attn: Customer Service Dept Opened 06/07 Last Active
4425 Ponce De Leon Blvd, 5th Floor When was the debt incurred? 11/01/07
Miami, FL 33146
Number Street City State le Code As of the date you fiie, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor 1 only m C°mingem
m Debtor 2 °'uy m Unliquidated
- Debtor 1 and Debtor 2 only i:l Disputed
m At least one of the debtors and another TyPe of NONPR'OR{TY unsecured claim:
ij check innis claim is for a community m S‘"de"* ‘°a"$
debt g Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
n NQ m Debts to pension or profit-sharing plans, and other similar debts
[Il Yes § Oiher. Spe¢;iy Real Estate Specific

4.9 Bayview Financial Loan Last 4 digits of account number 7425 Unknown
Nonpriority Creditor's Name
Attn: Customer Service Dept Opened 06/07 Last Active
4425 Ponce De Leon B|vd, 5th Floor When was the debt incurred? 11/01/07
lllliami, FL 33146
Number Street City State le Code As of the date you tile, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor 1 only [] Comingem
m Debtor 2 only m Unliquidated
m Debtor 1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type °f NONFR'CR'TY unsecured claim:
l:l check if this claim is for a community g S*“d@"‘ '°3“5
debt ij Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No m Deth to pension or profit-sharing plans, and other similar debts
l:l Yes l Oihe,_ gpe¢ify Real Estate Specific

4.1

0 Cap1ll’h0de Last 4 digits of account number 2419 $C\.OO
Nonpriority Creditor's Name
Capital One Retail SrvslAttn: Opened 08/05 Last Active
Bankrupt¢y When was the debt incurred? 08[05
Po Box 30258
Salt Lake City, UT 84130
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor1 only ij Contingent
ij Debtor 2 only m Unliquidated
m Debtor 1 and Debtor 2 only m Disputed
ij At least one of the debtors and another Type of NONFR'OR'TY unsecured claim:
ij Check ifthis claim is for a community m Siudem loans
debt m Obligations arising out of a separation agreement or divorce that you did nol
ts the claim subject to offset? report as priority claims
l No m Debts to pension or proHt-sharing plans, and other similar debts
m Yes l Other. Specify

Oil‘"rcia| Form 106 ElF Schedule EIF: Creditor's Who Have Unsecured Claims Page 4 of 18
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Debtor1 Ganesh D.Arora
DebtorZ ShiwaniK.Arora

 

 

 

Case number (il know) 3217-bk-02961

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditor‘s Name
Attn: Bankruptcy

Po Box 30253

Salt Lake City, UT 84130

 

Number Street City State le Code

Who incurred the debt? Check one.

n Debtor 1 only

m Debtor 2 only

m Debtor 1 and Debtor 2 only

m At least one of the debtors and another

Cl check innis claim is for a community
debt
ls the claim subject to offset?

- No
m Yes

4.1 .
1 Caplta' One Last 4 digits of account number 9116 $0-00
Nonpriority Creditor's Name
Attn: Bankruptcy Opened 9I22/13 Last Active
Po Box 30253 When was the debt incurred? 8/26/15
Salt Lake City, UT 84130
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
l Debtor 1 only l:l Contingent
[J oeblor 2 only ij unliquidated
m Debtor 1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type °f NoNpR’OR'TY unsecured elau“:
m Check if this claim is for a community m Su‘dem loans
debt l:l Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
m No m Deth to pension or profit-sharing plans, and other similar debts
m Yes l cher_ Spec;fy Credit Cal'd
4.1 .
2 Capltal one Last 4 digits of account number 1 258 $0.00
Nonpriority Creditor's Name
Attn: Bankruptcy Opened 1 211 6/12 Last Active
Po Box 30253 When was the debt incurred? 8/15/15
Salt Lake City, UT 84130
Number Street City State le Code As of the date you tile, the claim is: Check ali that apply
Who incurred the debt? Check one.
l Debtor 1 only m Contingent
l:l Debtor 2 only El unliquidated
m Debtor 1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type of NONPR'CR'TY unsecured °uum:
m Check if this claim is for a community m Su“dem loans
debt m Obiigations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No m Deth to pension or profit-sharing plans, and other similar debts
m Ves n Other, Specify Credit Cal"d
4.1 .
3 Cap\tal one Last 4 digits of account number 7347 $0.00

Opened 10/1 3 Last Active
8/15!15

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

m Contingent
l:l unliquidated

m Disputed
Type of NONPR|ORlTY unsecured claim:

m Student loans

l:l Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

m Deth to pension or profit-sharing plans. and other similar debts

m ether gpec;fy Credit Card

 

 

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Schedule EIF: Creditors Who Have Unsecured Claims

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Debtor1 Ganesh D.Arora
Debtor2 ShiwaniK.Arora

 

 

 

Case number (irl<now) 311 7-bk-02961

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditor's Name
Attn: Bankruptcy
Po Box 30253

Salt Lake City, UT 84130
Number Sireet City State le Code

Who incurred the debt? Check one.

m Debtor 1 only

m Debtor 2 only

l Debtor 1 and Debtor 2 only

m At least one of the debtors and another

m Check if this claim is for a community
debt

ls the claim subject to offset?

l No
m Yes

4.1 .
4 Caplfal One Last 4 digits of account number 3231 $0.00
Nonpriority Creditor's Name
Attn: Bankruptcy Opened 10111 Last Active
PO Box 30253 When was the debt incurred? 12/07[12
Salt Lake City, UT 84130
Number Street City State le Code As of the date you t"ile, the claim is: Check all that apply
Who incurred the debt? Check one,
l Debtor 1 only m Contingent
m Debtor 2 only [] Unliquidated
m Debtor 1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type °r NONPR|oRrTY unsecured crarm:
m Check if this claim is for a community m Su"dem loans
debt m Ob|igations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No m Deth to pension or profit-sharing plans, and other similar debts
m Yes m ther, Specify Credif Cat'd
4.1 .
5 Caprta| One Last 4 digits of account number 2500 $0.00
Nonpriority Creditor's Name
Attn: Bankruptcy Opened 02/16 Last Active
PQ BOX 30253 When was the debt incurred? 07[17
Salt Lake City, UT 84130
Number Street City State le Code As of the date you Hle, the claim is: Check all that apply
Who incurred the debt? Check one.
l Debtor1 only m Contingent
m Debtor 2 only m Unliquidated
m Debtor 1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type cr NONFRroRrT¥ unsecured claim:
ill check iftnis claim is for a community m Siude‘“ '°a"$
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No m Debts to pension or profit-sharing plans, and other similar debts
El Yes B Oihei_ specify Charge Account
4,1 .
5 Capltar One Last 4 digits of account number 3615 $0.00

Opened 02/16 Last Active
When was the debt incurred? 07/17

 

As of the date you tile, the claim is: Check all that apply

m Contingent
m Unliquidated

ij Disputecl
Type of NONPRlOR|TY unsecured claim:

m Student loans

m Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

m Deth to pension or proHt-sharing plans, and other similar debts

n ther‘ Specjfy Credit Card

 

 

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Schedule Ele Creditors Who Have Unsecured Claims

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Debtort Ganesh D.Arora
Debt0r2 ShiwaniK.Arora

 

 

 

Case number (lrl<now) 3217-bk-02961

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.1 .
7 Caplfal One Last 4 digits of account number 6384 $3,357.00
Nonpriority Creditor's Name
Attn: Bankruptcy Opened 01/16 Last Active
po Box 30253 When was the debt incurred? 07/17
Sa|t Lake City, UT 84130
Number Street City State le Code As of the date you fiie, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor 1 only ij Contingem
m Debtor 2 °“'y l:l unliquidated
n Debtor 1 and Debtor 2 only l:i Disputed
m At least one ot the debtors and another Type of NONPR|ORlTY unsecured claim:
ij check ifthis claim is for a community m S“‘de“‘ '°a“$
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
§ No l:] Debts to pension or profit-sharing plans. and other similar debts
m Yes § owen Specify Credi‘[ Ca|”d
4.1
3 ChaSe Cal‘d Last 4 digits of account number 5335 $0-00
Nonpriority Creditor's Name
Attn: Correspondence Dept Opened O1I07 Last Active
FO BOX 15298 When was the debt incurred? 08[09
Wilmington, DE 19850
Number Street City State le Code As of the date you tile, the claim is: Check all that apply
Who incurred the debt? Check one.
n Debtor 1 only m Contingent
l:l Debtor 2 only ij unliquidated
m Debtor 1 and Debtor 2 only L_.] Disputed
m At least one of the debtors and another Type °f NONPR|OR‘TY unsecured claim:
m Check if this claim is fora community m Siudem mens
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No m Deth to pension or profit~sharing plans, and other similar debts
m Yes n Oiher_ gpecgfy Cl'edit Cai'd
4.1
9 ChaSe Cal'd Last 4 digits of account number 6153 $0-00
Nonpriority Creditor's Name
Attn: Correspondence Dept Opened 02/07 Last Active
Po Box 15298 when was the debt incurred? 12/03
Wilmington, DE 19850
Number Street City State le Code As of the date you fi|e, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor 1 only 1:] Comingem
n Debtor 2 only [:] Unliquidated
m Debtor 1 and Debtor 2 only l:] Disputed
ij At least one of the debtors and another Type of NONPR|OR!TY unsecured °u‘um:
i:l Check if this claim is for a community m Su'dem hans
debt m Obligaiions arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No m Debts to pension or proHt-sharing plans, and other similar debts
[J Yes l Othe,` Spec,»fy Credit Card
Ofticial Form 106 E/F Schedule EIF: Creditors Who Have Unsecured Claims Page 7 of 18

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Best Case Bankruptcy

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Debtor1 Ganesh D.Arora
DebtorZ ShiwaniK.Arora

 

 

 

Case number (irl<ncw) 3217-bk-02961

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditor‘s Name
CiticorplCentralized Bankruptcy
Po Box 790040

Saint Louis, MO 63179
Number Street City State le Code

Who incurred the debt? Check one.

l Debtor 1 only

g Debtor 2 only

ij Debtor 1 and Debtor 2 only

l:l At least one of the debtors and another

ill check irihis claim is for a community
debt

ls the claim subject to offset?

- No
m Yes

4.2 ~
0 Cha$e Ca|'d SEW|CGS Last 4 digits ot account number 2028 $0~00
Nonpriority Creditor's Name
Attn: Correspondence Opened 01/03 Last Active
PO BOX 15278 When was the debt incurred? 11/08
Wilmington, DE 19850
Number Street City State le Code As of the date you Hle, the claim is: Check all that apply
Who incurred the debt? Check one.
l Debtor 1 only L__l Contingent
m Debtor 2 only m Unliquidated
m Debtor 1 and Debtor 2 only m Disputed
l:l At least one of the debtors and another Type °r NONFR'CR'T¥ unsecured Cuum:
l:i Check if this claim is for a community m Sruderu loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
n No m Deth to pension or profit-sharing plans, and other similar debts
l:l Yes E Ome,_ Spec;fy Credit Card
4.2
1 Cha$eHealthAdVanCe Last 4 digits of account number 0449 $D-OO
Nonpriority Creditor's Name
Attn: Bankruptcy Opened 12109 Last Active
171 7 Hermitage Blvd Ste 101 when was the debt incurred? 411 411 1
Tallahassee, FL 32308 y
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
l:i Debtor 1 only [] Comingem
l oebldr 2 only l:l unliquidated
m Debtor 1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type °r NONPR|CR‘TY unsecured °rarmr
m Check if this claim is for a community m Sfuueur loans
debt [:] Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
l No m Debts to pension or profit-sharing plans, and other similar debts
|:l Yes § when Specify Charge Account
4.2 . .
2 Cltibank/Be$t Buy Last 4 digits of account number 4683 $0-00

0pened 5/27/12 Last Active

When was the debt incurred? 6/28/12

As of the date you tile, the claim is: Check all that apply

m Contingerlt
[] unliquidated

m Disputed
Type of NONPRlORlTY unsecured claim:

m Student loans

m Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts

l when Specify Charge Account

 

 

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Schedule EIF: Creditors Who Have Unsecured Claims

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Debtor 1 Ganesh D. Arora

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 2 Shiwani K_ Arora Case number (irl<now) 3317'bk~02931
4.2 . .
3 Cltlbank/Be$t BUY Last4 digits of account number 4683 $0-00
Nonpriority Creditor's Name
Centralized Bankruptcy/CitiCorp Opened 05/12 Last Active
Credit S When was the debt incurred? 06[1 2
Po Box 790040
St Louis, NlO 63179
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
- Debtor 1 only n Contingent
L`_'l Debtor 2 only ill unliquidated
m Debtor 1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type of NONPR|OR‘TY unsecured claim:
[:l Check if this claim is for a community m Swdent loans
debt cl Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No m Debts to pension or prot"lt»sharing plans, and other similar debts
l:l ves § O¢he,, Specify Charge Account
4.2 . .
4 Clt|Cal'dS Cbna Last 4 digits of account number 3623 $0-00
Nonpriority Creditor's Name
Citicorp Credit SchCentralized Opened 2l12/07 Last Active
Bankrupt When was the debt incurred? 4l06l08
Po Box 790040
Saint Louis, MO 63179
Number Street City State le Code As of the date you tile, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor 1 only m Contingent
m Debtor 2 only l:l Unliquidated
n Debtor 1 and Debtor 2 only l:l Disputed
m At least one of the debtors and another Type °f NONPR|OR'TV unsecured °'aim:
E] cheek ifr-his claim rs rcra community m S’“de"* '°a"$
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No m Deth to pension or proflt'sharing plans, and other similar debts
m Yes Oiher_ Specify Credlf Cal‘d
4.2 .
5 Comemty BanklExpress Last 4 digits of account number 7281 $0.00

 

 

 

Nonpriority Creditor's Name
Attn: Bankruptcy

Po Box 182125
Columbus, OH 43218
Number Street City State le Code

Who incurred the debt? Check one.

l Debtor 1 only

m Debtor 2 only

m Debtor 1 and Debtor 2 only

m At least one of the debtors and another

l.__l Check if this claim is for a community
debt
ls the claim subject to offset?

' No
m ¥es

Opened 12105 Last Active
5I03l06

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

m Contingent
[:] Unliquidated

m Disputed
Type of NONPRlClRlTY unsecured claim:

m Student loans

m Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts

H owen SpeC,-fy Charge Account

 

 

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Schedule EIF: Creditors Who Have Unsecured Claims

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Debtor 1 Ganesh D. Arora

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 2 Shiwani K. Arora Case number (lrkndw) 3217-bk-02961
4.2 .
6 Comenlfy Bank!TalbOtS Last 4 digits of account number 8922 $0.00
Nonpriority Creditor‘s Name
Opened 7I10l13 Last Active
P° Box 182125 When was the debt incurred? 6121/16
Columbus, GH 4321 8
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor 1 only [] Commgem
l Debtor 2 only l:l unliquidated
m Debtor 1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type °r NoNpRrOR'TV unsecured claim:
m Check if this claim is for a community m Su'uent loans
debt [:l Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
l No m Debis to pension or pmm-sharing plans, and other similar debts
[] Yes E Oiher, Specify Charge Account
4,2 .
7 COmentl'.y BanlealbDfS Last 4 digits of account number 1680 $0-00
Nonpriority Creditor's Name
Opened 07/13 Last Active
P° Box 182125 When was the debt incurred? 6/21/16
Columbus, OH 4321 8
Number Street City State le Code As of the date you tile, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor 1 only m Con“ngem
n Debtor 2 only l:] Unliquidated
m Debtor 1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type °r NONPR'OR'TY unsecured claim:
El check irzhis claim is for a community m S*Ude"’ ‘°3"3
debt m Ob|igations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
n No m Debts to pension or prot”lt-sharing plans, and other similar debts
l:l Yes 5 Ome,. Specyfy Charge Account
4.2 .
8 Dav'd Catalan° Last 4 digits of account number UnknOWrt
Nonpriority Creditor”s Name
7879 SE 12th Circle When was the debt incurred?
Ocala, FL 34480
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor 1 only l C°nungent
m Debtor 2 only s Unliquidated
l Debtor 1 and Debtor 2 only n Disputed
m At least one of the debtors and another Type er NoNpRrORrTY unsecured claim:
l:l Check if this claim is for a community g Stuuent wang
debt ij Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No m Deth to pension or profit-sharing plans. and other similar debts
m Yes a Other, Specify
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Debtor1 Ganesh D. Arora
DebtorZ ShiwaniK.Arora

 

 

 

Case number (irl<now) 3217-bk~02961

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

internal Revenue Service

 

Nonpriority Creditor's Name
PO Box 7346
Philadelphia, PA 19101-7346

 

Number Street City State le Code
Who incurred the debt? Check one.

m Debtor 1 only

m Debtor 2 only

l Debtor 1 and Debtor 2 only

m At least one of the debtors and another

ij Check if this claim is for a community
debt
ls the claim subject to offset?

n No
i:] Yes

4,2 . . .
9 Dlscover Fmanclal Lasm digits or account number 8435 $0.00
Nonpriority Creditor's Name
0 ened 02107 Last Active
Po Box 3025 . p
When was the debt incurred? 10/09
New Albany, OH 43054
Number Street City State le Code As of the date you tile, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor 1 only m Comingem
m Debtor 2 only m Unliquidated
l Debtori and Debtor 2 only El Disputed
m At least one of the debtors and another Type °f NoNPRIoR|W unsecured Claim:
m Check if this claim is for a community m Stude'u ‘°a“$
debt m Obligations arising out ot a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
§ No m Debts to pension or prot”lt~sharing plans, and other similar debts
m Yes g Other_ Specify Credit Cai‘d
443 .
0 F|l‘St Dafa Last 4 digits of account number 7000 $0-00
Nonpn`ority Creditor’s Name
5565 Glenridge Opened 11/03 Last Active
Connector NE Ste 2000 when was tile debt incurred? 05/03
Atlanta, GA 30342
Number Street City State le Code As of the date you lile, the claim is: Check all that apply
Who incurred the debt? Check one.
n Debtor 1 only m Contingent
m Debtor 2 only m Unliquidated
m Debtor 1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type °f NONPR|ORlTY unsecured claim:
m Check if this claim is for a community m Studem mens
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No m Debts to pension or profit-sharing plans, and other similar debts
m Yes l Other, Specify Lea$e 7
4.3

Last 4 digits of account number Unknown

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

l Contingent

o unliquidated

n Disputed

Type of NONPRlORlTY unsecured claim:
m Student loans

m Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

i:] Debts to pension or pmm-sharing plans, and other similar debts

m Other. Specify

 

 

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Debtor1 Ganesh D.Arora
Debt0r2 ShiwaniK.Arora

 

 

 

 

 

Case number (irknow) 3:17-bk-02961

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4.3 . .
2 Navlent Solutions |nC Last 4 digits of account number 0913 $0.00
Nonpriority Creditor`s Name
Opened 09/91 Last Active
11100 Usa Pkwy When was the debt incurred? 07]'\2
Fishers, |N 46037
Number $treet City State le Code As of the date you fi|e, the claim is: Check all that apply
Who incurred the debt? Check one.
n Debtor 1 only l:] Contingent
m Debtor 2 only m Unliquidated
m Debtor 1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type of NONPR|ORlTY unsecured °laim:
m Check if this claim is fora community m Smdem loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
No e eto pension or pro it»s aring pans, an ot er simi ar e ts
m UDbt ` Fh'| dh"ldb
l:i Yes I Oiher_ Specify Government Unsecured Guarantee Loan
4.3 .
3 Reglonlam$ Last 4 digits of account number 6991 $O.DD
Nonpriority Creditor's Name
0 ened 08/97 Last Active
Po Box 216 . p
_ _ When was the debt incurred? 10/18/00
Birmlngham, AL 35201
Number Street City State Z|p Code As of the date you tile, the claim is: Check all that apply
Who incurred the debt? Check one,
n Debtor 1 only m Contingent
El Debtor 2 only l:l unliquidated
m Debtor 1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type of NONPR|ORlTY unsecured daim‘
l:l check irrhis claim is for a community m S‘Ude"t ’°3“$
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
n No m Deth to pension or profit-sharing plans, and other similar debts
[] Yes l Oiher_ Specify Check Credit Or Line Of Credit
4.3 .
4 Regions Bank Last 4 digits of account number 7344 $0.00

 

 

Nonpriority Creditor's Name

North Building 2nd Floor
Hoover, AL 35244

 

Number Street City State le Code

Who incurred the debt? Check one.

l Debtor 1 only

m Debtor 2 only

m Debtor 1 and Debtor 2 only

m At least one of the debtors and another

m Check if this claim is for a community
debt
ls the claim subject to offset?

l No
m Yes

Opened 2123/07 Last Active

When was the debt incurred? 5117[10

 

As of the date you File, the claim is: Check all that apply

m Contingent
[_'i unliquidated

m Disputed
Type of NONPRlORlTY unsecured claim:

m Student loans

m Obligaiions arising out of a separation agreement or divorce that you did not
report as priority claims

m Deth to pension or protit~sharing plans, and other similar debts

§ given Specify Credit Line Secured

 

 

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Debtor1 Ganesh D.Arora
DebtorZ ShiwaniK.Arora

 

 

 

Case number (ifi<now) 3217-bk-02961

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditor's Name

211 E Silver Springs Blv
Ocala, FL 34470

 

Number Street City State le Code

Who incurred the debt? Check one.

- Debtor 1 only

m Debtor 2 only

[] Debtor 1 and Debtor 2 only

g At least one of the debtors and another

t:l Check ifthis claim is for a community
debt
is the claim subject to offset'?

n No
m Yes

4.3 .
5 Reg|ons Bank Last 4 digits of account number 4030 $0.0U
Nonpriority Creditor's Name
Opened 2/23/07 Last Active
720 Norm 39th Street When was the debt incurred? 12/02/14
Blrmlngham, AL 35222
Number Street City State le Code As of the date you iiie, the claim is: Check all that apply
Who incurred the debt? Check one.
l Debtor1 only l:l Contingent
m Debtor 2 only l:l Unliquidated
ill Debtor 1 and Debtor 2 only ij oispuied
l:l At least one of the debtors and another Type of NONPR'OR'TY unsecured claim:
m Check if this claim is for a community m Swdent loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to oftset? report as priority claims
n NO m Debts to pension or pront-sharing plans, and other similar debts
[.'l Yes § oiner. specify Credit Line Secured
4.3 . `
6 Reglons Bank Lasm digits orac¢ouni number 4290 $0.00
Nonpriority Creditor's Name
P Gpened 12100 Last Active
? B?X 216 When was the debt incurred? 7/02[07
Blrmlngham, AL 35201
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
o Debtor 1 only m Contingent
m Debtor 2 only l:l Unliquidated
m Debtor 1 and Debtor 2 only m Disputed
l:l At least one of the debtors and another Type °f NONPR‘OR’TY unsecured claim:
m Check if this claim is for a community m Studem wang
debt m Obligations arising out ot a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
m No m Debts to pension or profit-sharing plans, and other similar debts
El Yes § Other_ Spec;fy Credit Line Secured
43
7 SUntl'USt Bank Last 4 digits of account number 0073 $0~00

Opened 07/06 Last Active
1 1103/15

When was the debt incurred?

 

As of the date you tile, the claim is: Check all that apply

m Contingent
[Il unliquidated

m Disputed
Type of NONPR|ORIT‘I unsecured claim:

m Student loans

l:] Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

l:l Debts to pension or profit-sharing plans, and other similar debts

§ Oiher_ Spec;fy Check Credit Or Line Of Credit

 

 

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Debtor1 Ganesh D.Arora
Debtor2 ShiwaniK.Arora

 

 

 

 

 

Case number (lr kndw) 3:17~bk-02961

 

 

 

 

 

 

 

 

 

 

 

 

 

 

4,3
8 Suntru$t Bk"n Centra| Last 4 digits of account number 9150 $0.00
Nonpriority Creditor's Name
Attn:Bankruptcy Dept Opened 10115 Last Active
PO BC>X 85092 MC Va-erk-7952 When was the debt incurred? 1/12/17
Richmond, VA 23286
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor 1 only L°_] Comingem
m Debtor 2 °n|y m Unliquidated
n Debtor 1 and Debtor 2 only l:] Dlsputed
m At least one of the debtors and another Type °f NONPR|OR‘TY unsecured °'aim:
m Check if this claim is for a community m Stude'u loans
debt i:i Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
g NO [:] Deth to pension or prot”lt~sl‘laring plans, and other similar debts
l:] Yes B when Spec;fy Unsecured
4.3
9 SUntrUSt Bk°n Centrai Last 4 digits of account number 9382 $24,250.00
Nonpriority Creditor‘s Name
Attn:Bankruptcy Dept Opened 01117 Last Active
Po Box 85092 Mc Va-erk-7952 When was the debt incurred? 07/17
Richmond, VA 23286
Number Street City State Z|p Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor 1 only [] Comingem
m Debt°f 2 °"'V l:l unliquidated
. Debtor 1 and Debtor 2 only i._.] Disputed
m At least one of the debtors and another Type of NONPR'OR'TY unsecured claim:
m Check ifthis claim is for a community m Su"dem mens
debt m Obllgations arising out of a separation agreement or divorce that you did not
ts the claim subject to offset? report as priority claims
l No m Debts to pension or profit-sharing plans, and other similar debts
l:l Yes § O,he,, Specify Unsecured
4.4
0 Synchr°ny Bank Last 4 digits of account number 2768 $U.OO

 

 

Nonpriority Creditor's Name
Attn: Bankruptcy
Po Box 965060
Orlando, FL 32896

 

Number Street City State le Code
Who incurred the debt? Check one,

l Debtor 1 only

m Debtor 2 only

m Debtor 1 and Debtor 2 only

m At least one of the debtors and another

m Check ifthis claim is for a community
debt
ls the claim subject to offset?

l No
m Yes

Opened 06/01 Last Active
When was the debt incurred? 1 1/05

As of the date you file, the claim is: Check all that apply

[:l Contingent
El unliquidated

m Disputed
Type of NONPRlORlTY unsecured claim:

m Student loans

m Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

m Debts to pension or protit~sharing plans, and other similar debts

B Oihe,_ Spec;fy Charge Account

 

 

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Debtor1 Ganesh D.Arora
Debtor2 ShiwaniK.Arora

 

 

4.4

 

 

 

Case number (ifknow) 3217-bk-02961

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 Synchrony Eank Last 4 digits of account number 2974 $0-00
Nonpriority Creditor's Name
Attn: Bankruptcy Opened 02104 Last Active
PO BOX 965060 When was the debt incurred? O3I04
Orlando, FL 32896
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one,
m Debtor 1 only m Com;ngem
n Debtor 2 only m Unliquidated
m Debtor 1 and Debtor 2 only m Disputed
m At least one of the debtors and another Type of NONPR|OR'TV unsecured °'aim:
m Check if this claim is for a community m Su"dem loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
§ No m Debts to pension or profit-sharing plans, and other similar debts
[_'l Yes § when Spe¢ify Charge Account
4,4
2 Synchrony Bank Last 4 digits of account number 1 344 $0-00
Nonpriority Creditor's Name
Attn: Bankruptcy opened 3111/12 Last Active
Po Box 965060 When was the debt incurred? 4/08/12
Orlando, FL 32896
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
n Debtor 1 only m Contingent
m Debtor 2 only m Unliquidated
ij Debtor 1 and Debtor 2 only ij Disputed
m At least one of the debtors and another Type of NONPR|OR'TV unsecured claim:
m Check if this claim is for a community m Sfude'u loans
debt m Obligalions arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l NQ m Debts to pension or profit»sharing plans, and other similar debts
l'_'_i Yes B ethel Specify Charge Account
4.4 1
3 Synchrony Banleirklands Last 4 diggs orac¢oum number 3281 $0.00

 

 

Nonpriority Creditor's Name
Attn: Bankruptcy
Po Box 956060
Orlando, FL 32896

 

Number Street City State le Code
Who incurred the debt? Check one.

m Debtor 1 only

ij Debtor 2 only

o Debtor 1 and Debtor 2 only

ij At least one of the debtors and another

m Check if this claim is for a community
debt
ls the claim subject to offset?

n No
m Yes

Opened 08/05 Last Active
When was the debt incurred? 02106

 

As of the date you tile, the claim is: Checl< all that apply

m Contingent
ill unliquidated

m Disputed
Type of NONPR|ORlTY unsecured claim:

m Student loans

m Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

m Deth to pension or protit»sharing plans, and other similar debts

H owen Spe¢i¢y Charge Account

 

 

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Debtor 1 Ganesh D. Arora

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

oablcr 2 shlwani K_ Arora case number (irkncw> 3:17-bk-02961
4.4
4 Synchrony Banklsam$ Last 4 digits of account number 3175 $0-00
Nonpriority Creditor's Name
Attn: Bankruptcy Opened 1l09l12 Last Active
PQ BOX 965060 When was the debt incurred? 8IO4I16
Orlando, FL 32896
Number Street City State le Code As of the date you t"lle, the claim is: Check all that apply
Who incurred the debt? Check one.
m Debtor 1 only [] Contingem
§ oabicr 2 only l:l unliquidated
m Debtor ’l and Debtor 2 only m Disputed
l:] At least one of the debtors and another Type °f NONPR'OR'T¥ unsecured claim:
l:l Check if this claim is for a community l:l Sludenl loans
debt l:l Ob|igations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
No e ts to pension or pro lt-s arlng p ans, an ot er slml ar e ts
l EDb ' f'h'l dh"ldb
l:l Yes l Ome,_ Specify Charge Account
4.4
5 Synchrony Bank/Sam$ Last 4 digits of account number 2584 $0~00
Nonpriority Creditor‘s Name
Attn: Bankruptcy Opened 11/26/07 Last Active
PD BOX 965060 When was the debt incurred? 6[21[10
Or|ando, FL 32896
Number Street City State le Code As of the date you file, the claim is: Checl< all that apply
Who incurred the debt? Check one.
l Debtor 1 only l:.l Contingenl
m Debtor 2 only m Unliquidated
m Debtor 1 and Debtor 2 only m Disputed
l:l At least one of the debtors and another Type °f NONFR'OR'TY unsecured Clelm:
ij Check if this claim is for a community l:l Sludenl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
l No m Deth to pension or profit~sharing plans, and other similar debts
E] Yes l oincr_ specify Charge Account
4.4
6 Synchrony Banleams Last 4 digits cr account number 2677 $O-OO

 

 

Nonpriority Creditor's Name
Attn: Bankruptcy
Po Box 965060

Orlando, FL 32896
Number Street City Stale le Code

Who incurred the debt? Check onel

m Debtor 1 only

l Debtor 2 only

m Debtor 1 and Debtor 2 only

m At least one of the debtors and another

m Check if this claim is for a community
debt
ls the claim subject to oftset?

l No
m Yes

Opened 06/03 Last Active
1 1122/04

When was the debt incurred?

 

As of the date you file, the claim is: Check all that apply

l:l Contingent
[] unliquidated

m Disputed
Type of NONPR|ORlTY unsecured claim:

m Student loans

m Obligatiorls arising out of a separation agreement or divorce that you did not
report as priority claims

l:l Deth to pension or proHt-sharing plans, and other similar debts

l ethel Specwy Charge Account

 

 

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Debtor1 Ganesh D.Arora
Debtorz ShiwaniK.Arora

 

 

 

Case number (ll kncw) 3117-bk-02961

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Nonpriority Creditor's Name
Po Box 10438
Nlacf8235-02f

Des Nloines, lA 50306

 

Number Street City State Z|p Code
Who incurred the debt? Check one.

s Debtor 1 only

m Debtor 2 only

m Debtor 1 and Debtor 2 only

m At least one of the debtors and another

l:l Check if this claim is for a community
debt
ls the claim subject to offset?

l No
g Yes

4.4
7 Synchrony Bankl$am$ Last 4 digits of account number 1927 $0.00
Nonpriority Creditor's Name
Attn: Bankruptcy Opened 06103 Last Active
Po Box 965060 when was the debt incurred? 11 /04
Orlando, FL 32896
Number Street City State le Code As of the date you t“lle, the claim is: Check all that apply
Who incurred the debt? Check one.
l:] Debtor 1 only [| Com;ngem
l Debtor 2 cnly \ lIl unliquidalad
cl Debtor 1 and Debtor 2 only l:l Disputed
l:l At least one ot the debtors and another Type °f NONpRlORlTY unsecured claim:
cl Check if this claim is for a community l:l Sludenl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
§ NO m Debts to pension or prot“lt-sharing plans, and other similar debts
m Yes l Other. Specity
4.4
8 Target Last 4 digits of account number 6685 $0.00
Nonpriority Creditor’s Name
CIO Financial & Retail Srvs Opened 12/05 Last Active
Niail$fopn BT PCB 9475 When was the debt incurred? 12107'
Minneapolis, MN 55440
Number Street City State le Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
l Debtor 1 only [:l Contingent
m Debtor 2 only m Unliquidated
m Debtor 1 and Debtor 2 only l.:l Disputed
l:l At least one of the debtors and another Type °f NONFRlGRlTY unsecured elalm:
m Check ifthis claim is for a community l:l Sludenl loans
debt m Obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
- No m Debts to pension or profit-sharing plans, and other similar debts
l:l yes H O¢her‘ Spec;fy Credit Card
4.4
9 Wells Fargo Bank Last 4 digits of account number 0169 $0-00

Opened 9/15/05 Last Active
1I11I08

When was the debt incurred?

 

As ofthe date you t"lle, the claim is: Check all that apply

m Contingent
El unliquidated

m Disputed
Type of NONPRlORlTY unsecured claim:

m Student loans

m Obligations arising out ot a separation agreement or divorce that you did not
report as priority claims 1

m Deth to pension or profit-sharing plans, and other similar debts

l Other_ Specify Real Estate Nlortgage

 

 

Ofi"lcial Form 106 E/F
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Schedule EIF: Creditors Who Have Unsecured Claims

Page 17 of 18
Best Case Bankruptcy

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Debtor 1 Ganesh D.

Arora

Debtor 2 Shiwani K. Arora

 

 

35 Wells Fargo

 

 

Bank

Last 4 digits of account number

 

Nonpriority Creditor's Name

Po Box 10438

Macf8235-02f

Des Moines,

When was the debt incurred?

lA 50306

 

Number Street City State le Code

Who incurred the debt? Check one.

- Debtor 1 only
m Debtor 2 only
m Debtor 1 and

m At least one of the debtors and another

[J check nims
debt

ls the claim subject to offset?

l No
m Yes

L__i Contingent
El uniiquidaied

Debtor 2 only m Disputed

claim is for a community m Smdem loans

Case number (rf know)

3:17-bk-02961

 

3990 $0.00

Opened 6/22/07 Last Active
5104/10

 

As of the date you file, the claim is: Check all that apply

Type of NONPR|ORlTY unsecured claim:

m Obligations arising out of a separation agreement or divorce that you did not

report as priority claims

m Debts to pension or profit-sharing plans, and other similar debts

5 other. specify S€Cured

 

 

List others w Be Nonned About a Debt That You Aiready Lisred

5. Use this page only if you have others to he notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. lt you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

 

§§ Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
type of unsecured claim.

Ga.
Totai
claims
from Part 1 Sb.
6c.
6d.
Ge,
6f.
Totai
claims
from Part 2 Eg.
Bh.
6i.
Gj.

On”icia| Form 106 E/F

Domestic support obligations

Taxes and certain other debts you owe the government
Claims for death or personal injury while you were intoxicated
Other. Add all other priority unsecured claims Write that amount here.

Totai Priority. Add lines 6a through oct4

Student loans

obligations arising out of a separation agreement or divorce that
you did not report as priority claims
Debts to pension or profit~sharing plans, and other similar debts

Other. Add all other nonpriority unsecured claims Write that amount
here.

Totai Nonpriority. Add lines 6f through Ei.

Schedule Ele Creditors Who Have Unsecured Claims

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Totai Claim
ea_ s 0.00
6b $ 0.00
GC. 5 0.00
ed. 3 0.00
66 $ 0.00
Total Claim
sr. 3 0.00
eg. s 0.00
6h. $ 0.00
6'~ $ 27,607.00
sj. 3 27,607.00

 

 

 

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Best Case Banl<ruptcy

Case 3:17-bk-02961-.]AF Doc 41 Filed 10/11/17 Page 33 of 36
Case 3:17-bk-02961-JAF Doc 10 Filed 08/15/17 Page l 012

 

 

Debtor 1 Ganesh D. Arora Social Security number or lTlN xxx-xx-2972

 

 

Firsi Name Micidie Name Last Name EiN _
pebtor 2 Shiwani K. Arora Social_éecurity.n_umbe; or lTlN xxx-xx-8431
(Sp°use' ifmi"g) Faisi Name Middie Name Last Name EiN ____ _______
United States Bankruptcy Court Middle District of Fiorida Date case filed for chapter 11 8/14/17

Case numbers 3:17-bk-02961-JAF

Official Form 309E (For lndividuals or Joint Debtors)

Notice of Chapter 11 Bankruptcy Case 12/15

 

 

For the debtors listed above, a case has been t”iled under chapter 11 of the Bankruptcy Code. An order for relief has been
entered.

This notice has important information about the case for creditors and debtors, including information about the meeting of
creditors and deadlines Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities This means that creditors generally may not take action to collect debts from
the debtors or the debtors‘ property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess property, or
otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise Creditors who violate the stay can be
required to pay actual and punitive damages and attorney's fees. Under certain circumstances the stay may be limited to 30 days or not exist at a|l, although
debtors can ask the court to extend or impose a stay.

Conhrmation of a chapter 11 pian may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to tile a complaint in the bankruptcy clerk's office within the deadlines specified in this
notice. (See line 10 below for more information.)

To protect your rights, consult an attomey. All documents filed in the case may be inspected at the bankruptcy clerk's ofhce at the address listed below or
through PACER (Public Access to Court Electronic Records at www,p_acer.gov).

 

The staff of the bankruptcy clerk’s office cannot give legal advice.

 

To help creditors correctiy identify debtors, debtors submit full Social Security or lndividual Taxpayer identification Numbers, which may appear on
a version of this notice. However, the full numbers must not appear on any document filed with the court.

Do not file this notice with any proof of ciaim or other filing in the case. Do not include more than the last four digits of a Social Security or
individual Taxr._iayer Identification Number in anv document including attachments that vou tile with the court.

 

 

 

 

 

About Debtor 1: About Debtor 2:
1. Debtor's full name Ganesh D. Arora Shiwani K. Arora
2 All other names used in the
' last 8 years
3 Address 1716 SW 82nd Drive 1716 SVY 82nd Drive
' Gainesville, Fl_ 32607 Galnesville, FL 32607
Tayior J King Contact phone 904-725-0822
4 Debtor'$ attorney Law Offit_:eS Of MiCk|el‘ & MiCklel’ , ' _
' Name and address 5452 Arlington Expressway Emaii: tiking@glanlaw.com
Jacksonvilie, FL 32211
5- Bankruptcy Clerk's Oftice H°UYS °p€“i
Documents in this case may be med at _ M°nday " F"day 8'30 AM _ 4‘00PM
this address_ 300 North_ Hogan Street Suite 3-150
You may inspect all records filed in this JECKSOYW\"€. FL 32202 C°mact phone 904'301”5490
case at this office or oniine at
www.g_acer,gov. Date: August 15, 2017
6- Meeting of creditors -
Debtors must attend the meeting to be September 20’ 2017 at 1130 AM
questioned under oath. ln a joint case, , . _ Location:
both Spouses must attend The meeting may be continued or adjourned to a FlRST FLCOR, 300 Nonh Hogan
Creditors may attend, but are not later date. if so, the date will be on the court docket St_ Suite 1...200 Jacksonvme FL
required to dol so. You are reminded 32202 ’ ’
that ocal Ru e 5073-1 restricts the mi
. . Debtor(s) must present Photo lD and acceptable proof
entry of persona| elect'°mc dev'°es of Social Security Number at § 341 meeting. "**

 

into the Courthouse.

 

For more information, see page 2 >
Official Form 309E (For individuals or Joint Debtors) Notice of Chapter 11 Bankruptcy Case page 1

 

 

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Case 3:17-bk-02961-JAF- Doc 10 Filed 08/15/17 Page 2 of 2

Debtor Ganesh D.Arora and Shiwani K.Arora

Case number 3:17-bk~02961-JAF

 

7. Deadiines File by the deadline to object to discharge or to challenge
The bankruptcy clerk's office whether certain debts are dischargeable:
must receive these

documents and any required . . `
ming fee by the fonowing ¥ou must file a complaint

First date set for hearing on
confirmation of plan. The court will send
you a notice of that date later.

Filing deadline for

 

 

 

 

deadlines - - - » .
, if you assert that the debtor is not entitled to receive a discharge of gl§§:$?:ragéligoggmplamts'
any debts under 11 U.S.C. § 1141(d)(3) or ’
, if you want to have a debt excepted from discharge under 11 U.S.C,
§ 523(a)(2), (4), or (6).
Deadline for filing proof of claim: December 4, 2017
For a governmental unit:
180 days from the date of
filing
A proof of claim is a signed statement describing a creditor`s claim. A proof of
claim form may be filed online at the Court‘s website at wwwiflmb,uscourts.gov
or obtained at Www.uscourts.gov or at any bankruptcy clerk's office.
Your claim Will be allowed in the amount scheduled unless:
. your claim is designated as disputed, contingent or unliquidated;
, you Gle a proof of claim in a different amount; or
. you receive another notice.
lf your claim is riot scheduled or if your claim is designated as disputed
contingent, or unliquidated you must file a proof of claim or you might not be
paid on your claim and you might be unable to vote on a plan. You may file a
proof of claim even if your claim is scheduled
You may review the schedules at the bankruptcy clerk's office or online at
W-
Secured creditors retain rights in their collateral regardless of whether they hle
a proof of claim. Filing a proof of claim submits a creditor to the jurisdiction of
the bankruptcy court, with consequences a lawyer can explain. For example, a
secured creditor who files a proof of claim may surrender important
nonmonetary rights, including the right to a jury trial.
Deadline to object to exemptions: Filing Deadline:
The law permits debtors to keep certain property as exempt lf you believe that 30 days after the conclusion of the
the law does not authorize an exemption claimed, you may file an objection. meeting of creditors
~ » - lf you are a creditor receiving mailed notice at a foreign address, you may file a motion asking the court to
8. C(;§d'tors w`th a foreign extend the deadlines iri this notice. Consult an attorney familiar With United States bankruptcy law if you have
a "955 any questions about your rights in this case.
Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the court
an a eha ter 11 confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan, and you
9. b kg p may have the opportunity to vote on the plan. You Will receive notice of the date of the confirmation hearing, and
an ruptcy Case you may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee is serving, the

debtor Will remain in possession of the property and may continue to operate the debtor's business

 

10. Discharge of debts

Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt. See
11 U.S.C. § 1141(d). l-lcwever, unless the court orders otherwise, the debts will not be discharged until all
payments under the plan are made. A discharge means that creditors may never try to collect the debt from the
debtors personally except as provided in the plan, lf you believe that a particular debt owed to you should be
excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint and pay the hling
fee in the bankruptcy clerk's oince by the deadline lf you believe that the debtors are not entitled to a discharge
of any of their debts under 11 U.S.C, § 1141 (d)(3), you must file a complaint and pay the filing fee in the clerk's
office by the first date set for the hearing on confirmation of the plan. The court will send you another notice

telling you of that date.

 

11. Exempt property

12- Voice Case lnfo. System
(ivicvcis)

 

The law allows debtors to keep certain property as exempt Fully exempt property will not be sold and
distributed to creditors, even if the case is converted to chapter 7, Debtors must me a list of property claimed as
exempt You may inspect that list at the bankruptcy clerk's office or online at wWw.pacer.gov, lf you believe that
the law does not authorize an exemption that the debtors claim, you may h|e an objection The bankruptcy
clerk's office must receive the objection by the deadline to object to exemptions in line 7.

Mc'\/CIS provides basic case information concerning deadlines such as case opening and closing date, discharge date and
whether a case has assets or iiot. McVClS is accessible 24 hours a day except when routine maintenance is performed To
access McVClS toll free call 1~866-222~8029.

 

 

Official Form 3095 (For individuals or Joint Debtors) y Notice of Chapter 11 Bankruptcy Case page 2

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UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLGRIDA

JACKSONVILLE DIVISICN
IN RE: CASE NO.: 3:17-bk-2961-JAP
GANESH ARORA
SI~iIWANI ARORA Chapter l l
Debtor(s).
/

 

DECLARATION CONCERNING DEBTOR’S
AMENDED SUMMARY OF SCHEDULES AND AMENDED SCHEDULE A/B AND
AMENDED SCHEDULE E/F
l declare under penalty of perjury that l have read the foregoing Amendcd Summary of
v Schcclulcs and Amended Schedule A/B and Amcndcd Schedule E/F, consisting of 35 sheets

including this pagc, and that they arc true and correct to the best of my knowledge information

and belief

@ ~ ' @m»A/g\/\/\/(l"‘"/\'i
Signaturc:

GANESH ARORA

Date: ;Z;ZJ/_z:d/ ?”

 

Datc: Signaturc:

 

SHIWANI ARORA

Swoi'n to and subscribed before inc

this O'?¢¢‘~j day of Octobei', 2017.
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Notaty Public, Statc of Plorida(
at Large ».
My Commission Expires: 0§//0/20;/

 
   
  

    

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UN}TED ST.ATES BANKRUPTCY CGURT
MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

lN RE: CASE NO.; 3117'{)!\;~2961»§.»§}?
GAN_ESH ARORA
SH.IWANI ARGRA. Chapter 11
Debtor(s).
/

 

DECLARATION C{)NCERNING DEBTGR’S
AM;ENDED SUMMARY ()F SCHEDULES ANI} A'MENDE§) SCHEBULE Af'B AND
AMENI)ED SCHEDULE E/F
11 dec§are under penalty of perjury that fl have read the foregoing Amended Summary cf

Scheduies and mcende Schedule A/B and Amended Schedule E/F, consisting of 35 sheets

inducing this page, and tha£ they are true and correct to the best cf my knowlede information

 

 

and beiief.

Date: S‘ignature;
GANESH ARORA

Date: §§ § 6 \ ?’ Signature: /é€/\“M% /¥Y\W
SHIWANI ARORA

Swom to and subscribed before me
this 10 day of Gctober, 201 7.

P}»`» 11 »1> § llan
Nota;‘y Pubh'c, State ef`Piorida
at large

My Commission Exp.ires: 7 "* 27" 52&2`/

 

